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UNITED ST ATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------)(
THE FEDERAL SA VIN GS BANK,
                       Plaintiff,
          -against-                                                       15 CIVIL 3548 (AKH)

                                                                       AMENDED JUDGMENT
ACE WATANASUPARP, RONALD RIEMER,
AND CITIZENS FINANCIAL GROUP,
                     Defendants.
-----------------------------------------------------------)(



         It is hereby ORDERED, ADJUDGED AND DECREED: That for the reasons

stated in the Court's Order dated February 26, 2019, Defendant Watanasuparp's motion for a new

trial on issues of liability is denied (2) Defendant Watanasuparp's motion for a new trial on the

issue of damages for the breach of fiduciary duty is granted, except as to the forfeiture of

$30,000 of his salary, and his motion for judgment as a matter oflaw is denied (3) Defendant

Citizens' motion for judgment as a matter of law, and order the case dismissed against it, with the

Clerk to tax costs is granted (4) An amended judgment is entered against Defendant

Watanasuparp in the amount of $30,000, with interest from March 20, 2015 in the amount of

$10,659.45, and with costs to be deferred until the issues between plaintiff and Watanasuparp are

determined.

Dated: New York, New York
       February 28, 2019


                                                                      RUBY J. KRAJICK

                                                                        Clerk of Court
                                                                BY:
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